                         UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT



145 SISSON AVENUE, LLC

                      PLAINTIFF                CIVIL ACTION NO.:

V.                                             3:23-CV-00903-MPS

ARON PURETZ

                      DEFENDANT
                                               AUGUST 20, 2024


                ORDER RE: MOTION FOR ORDER OF COMPLIANCE

       Please take notice the following order entered on August

13 , 2 0 2 4 at 8 : 4 6 pm ( # 6 8 ) :

       ORDER. Pursuant to Fed. R. Civ. P. 37 (a) (1) and
        (a) (3) (B) (iii) and Conn. Gen. Stat. §52-351b, as
       incorporated by Fed. R. Civ. P. 69(b), the [67) motion
       to compel Defendant Aron Puretz to respond to
       plaintiff's June 18, 2024 post-judgment
       interrogatories and June 28, 2024 requests for
       production, and the [67) motion to compel third-party
       entities to respond to the June 18, 2024 post-judgment
       interrogatories are GRANTED. The defendant and the
       third-party entities are ordered to respond to the
       plaintiff's post-judgment interrogatories and requests
       for production on or by August 31, 2024.

       Signed by Judge Michael P Shea on 8/13/2024.      (Pierson,
       M)
                                                                                                       2200




                                           CERTIFICATE OF SERVICE

       I hereby certify that a copy of this was mailed on this
20 th day of August, 2024 to:

Aron Puretz
43 Fenway Circle
Staten Island, New York 10308-1240

Aron Puretz
11 Forest Drive
Lakewood, NJ 08701

ASYLUM HILL APT LLC
Agent: VCORP SERVICES, LLC
67 Burnside Avenue
East Hartford, CT, 06108

CLEMENS Manager, LLC
Agent: David Helfgott
36 Airport Road
Lakewood, NJ 08701

CLEMENS PLACE CT LIMITED PARTNERSHIP
526 Westchester Road
Colchester, CT 06415-2228

CLEMENS PLACE CT LIMITED PARTNERSHIP
3 E Evergreen
New City, NY, 10956


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action\Order Granting MFOC 20024-08-20.doc
Hoyt Bedford Limited Partnership
Agent: Riverside Filings LLC
28 Crystal Street
Wethersfield, CT, 06109

Hoyt Bedford Manager LLC
Agent: VCORP SERVICES, LLC
108 W. 13TH STREET-SUITE 100
WILMINGTON, DE 19801

PAXE GARDEN GP LLC
Agent: David Helfgott
36 Airport Road
Lakewood, NJ 08701

PAXE GARDEN LIMITED PARTNERSHIP
Agent: Riverside Filings LLC
28 Crystal Street
Wethersfield, CT, 06109




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